FRED DODD, PETITIONER, v. COMMISSIONER OF INTERNAL REVENUE, RESPONDENT.Dodd v. CommissionerDocket No. 15251.United States Board of Tax Appeals18 B.T.A. 563; 1929 BTA LEXIS 2016; December 23, 1929, Promulgated *2016 Bradley L. Wallace, Esq., and Stanley H. Hermann, C.P.A., for the petitioner.  Eugene Meacham, Esq., for the respondent.  STERNHAGEN *563  The respondent determined a deficiency of $722.56 in income and profits taxes for the calendar year 1921.  Petitioner claims as deductions certain expenditures for alleged repairs on a hotel building and seeks to include in invested capital the cost of alterations.  FINDINGS OF FACT.  Petitioner, an individual residing at Fresno, Calif., was in 1921 the owner of certain real property on the southwest corner of Broadway and Tulare Streets in that city, including a building for hotel purposes known as the Hughes Hotel.  The hotel is of a "class C type," of brick and joist construction, three stories high with half attic.  It contained in 1913 two hundred high-ceiling rooms with interior of studs, wood laths and plaster and with old fashioned bay windows.  The elevator shafts were open, and fire escapes difficult of approach.  There was very little plumbing in the building and only a part had steam heat.  The building was covered with fancy decorations and had a mansard roof.  Upon its completion in 1888, it was*2017  the finest hotel in the surrounding valley.  In the business district of Fresno, which has since moved eastward and northward, two *564  hotels superior to the Hughes have been built.  Of these, the Californian, erected January, 1923, by popular subscription, is a "class A" steel frame construction building of 238 rooms with baths.  Prior to March 1, 1913, some changes were made in the Hughes Hotel.  A new lobby, costing $15,000, was built in 1905.  During 1920 and 1921, about $40,000 was spent on a fourth story which added 16 new bedrooms and baths, besides storerooms.  The roof towers were removed, elevator runs extended, a new roof put on, plumbing and heating plant installed and walls straightened.  Among the expenditures made on the hotel during 1921 were items for electric wiring and conduits, for the cutting and alteration of hallways leading to fire escapes, and for the installation of a new fire escape and work on old ones.  When the addition was built in 1921, electric wiring was put in the new part and also in the loft portion of the old building, where the wiring was of a poor class, in bad condition, and constituted a fire menace.  At the time that application*2018  was made for a permit to put the top story on, it was granted with the proviso that all the wiring be put in conduits, and while it was not found necessary to do so throughout the entire building, new pipe and wires had to be put from the center of distribution in the basement.  In installing the new system a great deal of the old wiring, which was hardly practicable for further use, had to be torn out and placed in conduits.  The cost of replacing this old wiring was $3,184.78, of which $468.25 represented the cost of the conduits.  Prior to 1921 the hotel was equipped with two fire escapes accessible only through rooms.  To comply with municipal regulations, petitioner in 1921 cut hallways through the rooms, which were then repainted and repapered, and $1,248.45 was expended on them for studding and plaster, lathing and labor.  In making the changes, all of which were incidental to the main purpose of cutting a passageway, metal instead of wooden laths were used, electrical fixtures and pipes were moved, a window was cut down to make a door, and flooring was relaid.  During 1921 a new fire escape was installed.  New floors and railings were made and other things done to the two*2019  ole ones which had been neglected and were badly rusted.  A part, but not all, of the work done on them and expenses incurred in connection therewith would not have been necessary if proper repairs, which would have cost $40 to $50 a year, had been currently made.  The foregoing expenditures, including $500 cost of the new fire escape, amounted to $1,396.25.  In computing petitioner's taxable income for 1921 the Commissioner disallowed as deductions representing repairs and replacements the foregoing expenditures aggregating $5,799.45.  *565  Petitioner spent for labor and material in connection with additions to the hotel $26,178.36 in 1920, and $20,745.96 in 1921, including the three items for wiring, hallways, and fire escapes.  OPINION.  STERNHAGEN: The petitioner contends that the expenditures made in 1920 and 1921 as appearing in the foregoing findings of fact are deductible as ordinary and necessary expenses of carrying on his trade or business in those years.  Clearly, however, they were correctly held by respondent to be capital expenditures for additions and improvements, and his disallowance of the deductions is sustained.  The petitioner attempts to present*2020  other issues such as that of deductions for depreciation and obsolescence, but the pleadings and evidence are inadequate to establish error in the respondent's determination.  Judgment will be entered for the respondent.